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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA
MACON DIVISION

ANNA LANGE,

Plaintiff,
V. CIVIL ACTION NO, 5:19-cv-392 (MTT)

HOUSTON COUNTY, Georgia, ef a/.,

Defendants.

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VERDICT FORM

We, the jury, for our damages verdict, do find as follows:
Question No. 1. Has plaintiff Sgt. Anna Lange proven by a preponderance
of the evidence that she suffered emotional pain and mental anguish as-a result of

the Exclusion?

Answer YES or NO \Eo

Question No. 2. If your answer is “NO,” this ends your deliberations, and your
foreperson should sign and date this verdict form.
If your answer is “YES,” what amount of money do you award for emotional pain

and mental anguish to plaintiff Sgt. Lange?

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SO SAY WE ALL, this AN day of September, 2022..
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